





  OPINION HEADING PER CUR                                           






&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;NO. 12-03-00170-CV

IN THE COURT OF APPEALS
&nbsp;
TWELFTH COURT OF APPEALS DISTRICT

TYLER, TEXAS
&nbsp;

CITY OF TYLER,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;§&nbsp;&nbsp;&nbsp;&nbsp;APPEAL FROM THE 
APPELLANT

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;§&nbsp;&nbsp;&nbsp;&nbsp;COUNTY COURT AT LAW NO. 2 OF

TIMOTHY L. BECK AND
SUSAN G. BECK, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;§&nbsp;&nbsp;&nbsp;&nbsp;SMITH COUNTY, TEXAS
APPELLEES




OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The City of Tyler (the “City”) appeals the trial court’s judgment in a condemnation
proceeding reinstating the special commissioners’ award to Timothy L. Beck and wife, Susan G.
Beck (the “Becks”).  The City contends, in a single issue, that the trial court abused its discretion in
dismissing objections to the special commissioners’ award for want of prosecution.  We affirm.
&nbsp;
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On October 26, 2001, the City filed a petition in condemnation against the Becks to condemn
real property to construct a sanitary sewage drainage line.  The county court at law judge appointed
three special commissioners to assess damages in accordance with Texas Property Code, section
21.014(a).  Following a hearing on December 27, 2001, the special commissioners entered an award
for the Becks in the amount of $45,816.00.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On January 14, 2002, the City filed objections to the special commissioners’ award, in
accordance with Texas Property Code, section 21.018(a), but it did not serve the Becks with citation,
as required by Texas Property Code, section 21.018(b).  Later in January the Becks filed their
objections to the commissioners’ award, but also failed to serve the City with citation. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The City and the Becks sparred over discovery until October 2002, when the Becks filed a
special appearance, plea to the jurisdiction, and motion to dismiss.  Among other contentions, the
Becks stated that, if an objecting party fails to secure service of citation on the other party within a
reasonable period of time, the trial court should dismiss the objection for want of prosecution, and
then reinstate the special commissioners’ award.   See State v. Ellison, 788 S.W.2d 868, 871-72
(Tex. App.–Houston [1st Dist.] 1990, writ denied).  The City filed a response to the Becks’ pleading
and among other contentions stated “the appropriate remedy according to Ellison and other cases,
is the dismissal of all appeals and reinstatement of the commissioners’ award.”  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The county court at law held a hearing on the Becks’ motion on January 10, 2003.  On
March&nbsp;11, the trial court signed an order dismissing the case for want of prosecution and further
ordering that the award of the special commissioners in the amount of $45,816.00 be entered as the
judgment of the court.  On April 9, the City filed a motion for new trial and a verified motion to
reinstate.  The trial court held a hearing on both motions on May 5.  No further action was taken by
the trial court, which resulted in the two motions being overruled by operation of law.  The City
timely appealed the March 11 order.  
&nbsp;
Standard of Review
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We review a dismissal for want of prosecution under a clear abuse of discretion standard. 
MacGregor v. Rich, 941 S.W.2d 74, 75 (Tex. 1997).  The test for abuse of discretion is whether the
court acted without reference to any guiding rules and principles.  See Downer v. Aquamarine
Operators, Inc., 701 S.W.2d 238, 241-42 (Tex. 1985).  
&nbsp;
Condemnation Proceedings
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The City’s sole issue is whether the trial court abused its discretion by dismissing its
objection to the special commissioners’ award due to a lack of prosecution.  The City argues that the
trial court based the dismissal of its objection on the fact that the City never obtained service of
citation on the Becks after filing its objection.  The City submits that service of citation on the Becks
was not necessary because the Becks themselves had objected to the award of the special
commissioners.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Texas condemnation proceedings, there is an administrative component that must be
completed before a civil trial in a court of law can occur.  See Tex. Prop. Code Ann. §§ 21.013,
21.014 (Vernon 2004).  When settlement terms cannot be reached between a condemnor, such as the
City, and landowners, such as the Becks, the condemnor must file a statement in condemnation in
the proper court of the county where the land is located.  Tex.Prop.Code Ann. §§ 21.001, .012, .013
(Vernon 2004).  After the statement is filed, the trial court appoints three special commissioners who
conduct hearings, assess the damages, and file awards reflecting their opinion of the value of the
land. Tex.Prop.Code Ann. § 21.014-.016 (Vernon 2004).  If satisfied with the special
commissioners’ award, the condemnor may either pay the amount to the landowner or deposit the
amount into the registry of the court.  Tex. Prop. Code Ann. § 21.021(a)(1) (Vernon 2004).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Any party who is dissatisfied with the special commissioners’ award is allowed a certain
amount of time within which to file objections.  Tex. Prop. Code Ann. § 21.018(a) (Vernon 2004). 
Upon filing an objection and obtaining service of citation upon the opposing party, the administrative
proceeding is converted into a normal civil case.  See Tex. Prop. Code Ann. § 21.018(b) (Vernon
2004); see also Musquiz v. Harris County Flood Control Dist., 31 S.W.3d 664, 666-67 (Tex.
App.–Houston [1st Dist.] 2000, no pet.).  In other words, the filing of objections coupled with
service of citation on the adverse party signals the end of the administrative proceeding and prevents
reinstatement of the special commissioners’ award.  State v. Carlton, 901 S.W.2d 736, 738 (Tex.
App.–Austin 1995, no writ). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We emphasize that the service of citation on the opposing party is the key event for a
condemnation proceeding to be converted from an administrative proceeding to a civil case.  Without
the service of citation, the condemnation remains an administrative proceeding. See id. The
procedures set forth in the condemnation statute must be strictly followed and its protections liberally
construed for the benefit of the landowner.  John v. State, 826 S.W.2d 138, 140 (Tex. 1992). 
&nbsp;
Dismissal for Want of Prosecution
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has inherent authority to dismiss any case before it for want of prosecution. 
See Villarreal v. San Antonio Truck &amp; Equip., 994 S.W.2d 628, 630 (Tex. 1999).  No party in a
condemnation proceeding is under a legal obligation to go forward with a civil trial unless and until
it has been properly served with citation.  See Amason v. Natural Gas Pipeline Co., 682 S.W.2d
240, 243 (Tex. 1984) (citing Denton County v. Brammer, 361 S.W.2d 198, 200 (Tex. 1962)).  If the
objecting party fails to secure service of citation on the other party within a reasonable period of
time, the trial court should dismiss the objections for want of prosecution, and should also reinstate
the special commissioners’ award.  Ellison, 788 S.W.2d at 871-72.  In the case before us, both
parties agreed that this was the law and there was no evidence to show that any party had been served
in the manner required by section 21.018(b).  See Tex. Prop. Code Ann. § 21.018(b). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The City contends that the Becks submitted to the jurisdiction of the trial court for civil trial
purposes by filing their objection to the special commissioners’ award.  The City supports this
contention with the case of Longino v. State, 385 S.W.2d 901, 903-04 (Tex. Civ. App.–Tyler 1965,
writ ref’d. n. r. e.).  However, Longino is distinguishable because there the State had obtained
service of citation upon the landowners.  Id. at 902.  As we discussed earlier, service of citation is
the key to a condemnation being transformed from an administrative proceeding to a civil case to
be decided in a court of law.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On the facts before us, we cannot conclude that the trial court acted arbitrarily or
unreasonably when it determined that this matter should be dismissed for want of prosecution for
the City’s failure to obtain service of citation.  Therefore, we hold that the trial court did not abuse
its discretion in dismissing this case for want of prosecution and reinstating the award of the special
commissioners.  The City’s sole issue is overruled.
&nbsp;
Disposition
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The judgment of the trial court is affirmed.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JAMES T. WORTHEN    
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice
&nbsp;
&nbsp;
Opinion delivered July 14, 2004.
Panel consisted of Worthen, C.J., Griffith, J. and DeVasto, J.
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(PUBLISH)


